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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE WESTERN DISTRICT OF VIRGINIA
                                 (Lynchburg Division)

 JOSHUA HEAD,                                          )
                                                       )
                Plaintiff,                             )
                                                       )
      V.                                               )      Civil Case No.: 6:23-cv-00029-NKM
                                                       )
 MODINE MANUFACTURING COMPANY,                         )
                                                       )
                Defendant.                             )


                                CONSENT DISMISSAL ORDER

        WHEREFORE, the parties have reached an agreement resolving all issues in this case.

        The parties stipulate and agree, through their undersigned counsel, that the above-

 identified action be and hereby is dismissed WITH PREJUDICE, and that each party shall bear

 its own attorney fees and costs incurred in this action. Accordingly, it is hereby

        ORDERED that this matter is hereby DISMISSED WITH PREJUDICE and stricken

 from the docket. The Clerk shall administratively close the case.

        IT IS SO ORDERED.

 Dated: November ____, 2023


                                                      The Honorable Norman K. Moon
                                                      Judge, Western District of Virginia
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 WE ASK FOR THIS:             SEEN AND AGREED:

 /s/ Christopher E. Collins   /s/ Amy M. Pocklington
 Christopher E. Collins       Amy M. Pocklington
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 Attorney for Plaintiff       Attorney for Defendant
